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                      UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION


GLORIA ROMERO, individually and as            '
Next Friend of MIKAYLA ROMERO,                '
                                              '
                                              '
       Plaintiffs,                            '
                                              '   Civil Action No. 5:17-CV-885-XR
v.                                            '
                                              '
BLAZIN WINGS, INC. d/b/a BUFFALO              '
                                              '
WILD WINGS,                                   '
                                              '
       Defendant,                             '


                     ORDER ON MOTION FOR SUMMARY JUDGMENT

       On this date, the Court considered Defendant’s Motion for Summary Judgment (docket

no. 24). Plaintiffs did not respond. Even though unopposed, the Court will analyze the motion,

the complaint, and the applicable law to determine whether summary judgment is warranted.

After careful consideration, the Court GRANTS Defendant’s motion.

                                      BACKGROUND

       Plaintiffs filed their Original Petition in the 225th Judicial District Court of Bexar

County, Texas, on June 23, 2017. Docket no. 1-5. Plaintiffs bring claims against Defendant for

violation of the Dram Shop Act, negligence, and negligent security. Id. Defendant removed to

this Court on September 11, 2017, alleging that there is complete diversity of citizenship

between parties and that the amount-in-controversy requirement is met. Docket no. 1. Defendant

filed its Motion for Summary Judgment now before the Court on October 30, 2018. Docket no.

24.




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           This case stems from an automobile collision on or about June 3, 2016, in which Obrian

Valdez1 allegedly collided with the car containing Plaintiffs Gloria Romero and Mikayla

Romero. Docket no. 6 at 3. Plaintiffs allege this collision injured them and seek, in this suit, to

hold Defendant Blazin Wings, Inc. responsible for allegedly serving Valdez alcohol earlier in the

evening of the collision.

           According to the report of Michael Robert Garcia, the San Antonio Police Department

officer who responded to the collision, Valdez fled the scene. Docket no. 24-4 at 6. A witness

noted Valdez’s license plate, and Garcia found Valdez and the car at the address listed for the

license plate. Id. Garcia determined Valdez was “the at-fault driver who had fled the scene and

was later arrested for failure to stop and render aid and intoxicated assault.” Id. at 3. Garcia’s

report states that Valdez “related to me that he was at Buffalo Wild Wings this evening and had

consumed approximately 4 twenty-four ounce beers and 1 shot of vodka” and “that he began to

drink around 5:00 p.m. and had stopped around 6:30 p.m.” Id. Garcia’s report states that Valdez

“seemed to be dazed and disoriented,” “appeared to be unsteady on his feet,” “had bloodshot,

glassy eyes and his speech was slurred[.]” Id. “Based upon all of my observations, training, and

experience,” the report states, “I formed the opinion that [Valdez] was intoxicated and could not

operate a motor vehicle safely.” Id. at 4.

           Plaintiffs allege that, on the date in question, Valdez “became intoxicated” at Defendant’s

Buffalo Wild Wings restaurant. Docket no. 6 at 2. They allege that, at the time Defendant’s

employees “were serving alcoholic beverages and/or ‘setups’ to [Valdez], it was apparent to

[Defendant’s employees] that [Valdez] was obviously intoxicated to the extent he presented a

clear danger to himself and others.” Id. at 2-3. They allege that Defendant “knew or should have



1
    Valdez is referred to variously by the parties as “O’Brien Valdez,” “Obrian Valdez,” and “O’Brian Valdez.”

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reasonably foreseen that there would be a large number of intoxicated persons at this event 2 and

that there was a great probability for intoxicated persons to attempt to leave the premises.” Id. at

3. Plaintiffs thus allege that Defendant was negligent and that this negligence resulted in the

collision that caused Plaintiffs’ injuries. Id.

           Although Plaintiffs filed no response to Defendant’s Motion for Summary Judgment,

Defendant appended to that motion documents it claims Plaintiffs provided during discovery.

These documents include the police report discussed above and the affidavit of Deanna Rivera.

In that affidavit, Rivera claims that she and Valdez were previously in a relationship and that

“[o]n the night of the wreck O’Brien Valdez fled the scene of the wreck and came to my house.”

Docket no. 24-2 at 9. Rivera states that “[y]ou could tell that he was obviously intoxicated.” Id.

Although she was not at Buffalo Wild Wings with Valdez, she purports to detail what took place:

           I know that immediately before the wreck he was at the Buffalo Wild Wings
           location where he use [sic] to work. . . . He knew most of the employees there and
           had some “special relationships” with some of the servers. On the night of the
           wreck, he drank at the Buffalo Wild Wings for 3-4 hours. The servers told him he
           could drink for free so long as he gave them a good tip. He drank several large
           beers, several shots, and at least one mixed drink. He knew the people that were
           serving him the drinks and was getting the drinks for free. Before he left, a
           Buffalo Wild Wings employee gave him free food to sober him up before he left
           the restaurant.

Id.

           For its part, although Defendant confirms that Valdez was a former employee, it

dismisses Rivera’s affidavit as hearsay and claims not to have any evidence that Valdez was at

Buffalo Wild Wings that night—it has no receipts, for example, and no witnesses or employees

have indicated that they saw him. Docket no. 24-3 at 3-4.

           Defendant moves for summary judgment on Plaintiffs’ claims. Defendant argues that the

Dram Shop Act represents the only recourse against a provider of alcoholic beverages available
2
    The record does not make clear what “event” Plaintiffs refer to in their Amended Complaint.

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under Texas law, which should dispose of Plaintiffs’ negligence claim. As to the Dram Shop Act

claim, Defendant argues that a statutory safe harbor protects its conduct here and, in the

alternative, that there is no genuine fact issue as to several elements necessary to Plaintiffs’

claim. Finally, Defendant argues that Plaintiffs’ negligent security claim fails as a matter of law.

                                          DISCUSSION

I.     Standard of Review

       The Court shall grant summary judgment if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law. FED. R.

CIV. P. 56(a). To establish that there is no genuine issue as to any material fact, the movant must

either submit evidence that negates the existence of some material element of the non-moving

party’s claim or defense, or, if the crucial issue is one for which the non-moving party will bear

the burden of proof at trial, merely point out that the evidence in the record is insufficient to

support an essential element of the non-movant’s claim or defense. Lavespere v. Niagra Machine

& Tool Works, Inc., 910 F.2d 167, 178 (5th Cir. 1990). Once the movant carries its initial

burden, the burden shifts to the non-movant to show that summary judgment is inappropriate.

See Fields v. City of S. Hous., 922 F.2d 1183, 1187 (5th Cir. 1991).

       In order for a court to conclude that there are no genuine issues of material fact, the court

must be satisfied that no reasonable trier of fact could have found for the non-movant, or, in

other words, that the evidence favoring the non-movant is insufficient to enable a reasonable jury

to return a verdict for the non-movant. See Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250

n.4 (1986). In making this determination, the court should review all the evidence in the record,

giving credence to the evidence favoring the non-movant as well as the “evidence supporting the

moving party that is uncontradicted and unimpeached, at least to the extent that evidence comes



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from disinterested witnesses.” Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 151

(2000). The Court “may not make credibility determinations or weigh the evidence” in ruling on

a motion for summary judgment, id. at 150, and must review all facts in the light most favorable

to the non-moving party, First Colony Life Ins. Co. v. Sanford, 555 F.3d 177, 181 (5th Cir.

2009).

II.      Application

         Plaintiffs bring claims under Texas law for negligence, violation of the Dram Shop Act,

and negligent security.

      1. Negligence

         Plaintiffs allege Defendant is negligent because Defendant “allowed alcoholic beverages

and/or ‘setups’ to continue to be served to [Valdez] even after it was apparent that [Valdez] was

obviously intoxicated to the extent that he presented a clear danger to himself and others.”

Docket no. 6 at 5. Because Defendant allegedly had “such control over the premises in question

that they owed certain duties” to Plaintiffs, “the breach of which proximately caused” Plaintiffs’

injuries, Plaintiffs seek damages for negligence. Defendant seeks summary judgment on this

claim because it argues the Dram Shop Act represents the “exclusive remedy for plaintiffs

claiming damages against a liquor vendor providing alcohol to a person 18 years of age or older,

such as Mr. Valdez.” Docket no. 24 at 7.

         “In enacting the Dram Shop Act, the Legislature sought to ‘deter providers of alcoholic

beverages from serving alcoholic beverages to obviously intoxicated individuals who may

potentially inflict serious injury on themselves and on innocent members of the general public.’”

F.F.P. Operating Partners, L.P. v. Duenez, 237 S.W.3d 680, 707 (Tex. 2007) (quoting Smith v.

Sewell, 858 S.W.2d 350, 356 (Tex. 1993)). A “provider” is defined as “a person who sells or



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serves an alcoholic beverage under authority of a license or permit issued under the terms of this

code or who otherwise sells an alcoholic beverage to an individual.” TEX. ALCO. BEV. CODE §

2.01. The Act contains an exclusivity provision, which states that “[t]he liability of providers”

for “the actions of their employees, customers, members, or guests who are or become

intoxicated is in lieu of common law or other statutory law warranties and duties of providers of

alcoholic beverages.” Id. § 2.03. “This chapter provides the exclusive cause of action for

providing an alcoholic beverage to a person 18 years of age or older.” Id. Texas courts have

stated that “[t]his language clearly expresses legislative intent to exclude all common-law rights

and bar all claims except those specifically authorized by the statute.” Steak & Ale of Texas, Inc.

v. Borneman, 62 S.W.3d 898, 908 (Tex. App.—Fort Worth 2001, no pet.) (collecting cases).

       Since Defendant is clearly a “provider,” the Act represents Plaintiffs’ exclusive remedy

for Defendant’s allegedly negligent conduct, all of which—with the potential exception of the

negligent security claim, discussed below—stems from providing alcoholic beverages. Thus,

Plaintiffs’ negligence claim fails.

   2. Dram Shop Act

       Although the Act authorizes liability of providers, a plaintiff’s burden of proof is high

and approaches the common-law gross negligence standard. Duenez, 237 S.W.3d at 707. “The

Act requires a plaintiff to prove that, when the alcohol was provided, the recipient ‘was

obviously intoxicated to the extent that he presented a clear danger to himself and others,’ and

the recipient's intoxication was a proximate cause of the damages suffered.” Id. (citing TEX.

ALCO. BEV. CODE § 2.02(b).

       Even when a plaintiff can meet this burden, however, “the Act nevertheless affords

providers a relatively simple safe-harbor.” Id. This safe harbor shields a provider from liability



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for its employee's actions if “(1) the employer requires its employees to attend a commission-

approved seller training program; (2) the employee has actually attended such a training

program; and (3) the employer has not directly or indirectly encouraged the employee to violate

such law.” TEX. ALCO. BEV. CODE § 106.14(a). The provider bears the burden to establish the

first two elements, and if the provider meets this burden “plaintiffs must show that the employer

has directly or indirectly encouraged the employee in question to over-serve.” 20801, Inc. v.

Parker, 249 S.W.3d 392, 397 (Tex. 2008). The Texas Supreme Court based this interpretation on

the notion that

       [i]t would indeed be extremely difficult for a provider to establish that it in no
       way directly or indirectly encouraged its employee to violate the law: while a
       provider could disclaim consciously encouraging its employees to violate the law,
       in some cases—as discussed below—a provider may do so inadvertently.
       Requiring such evidence could effectively deprive providers of a protection the
       Legislature clearly intended.

Id.

       Here, Defendant meets its burden as to the first two elements with the affidavit of

Danel Sobczak. Docket no. 24-3 at 1. In June 2016, Sobczak was the Operations General

Manager for the Buffalo Wild Wings location at which Valdez was allegedly over-served

prior to the automobile collision that precipitated this lawsuit. Sobczak states that

“Buffalo Wild Wings requires staff that may serve alcohol in all Texas restaurants to

complete a TABC approved alcohol seller training program before they are allowed to

service alcohol to guests.” Id. He states that Buffalo Wild Wings “also has its own

responsible alcohol service policies above and beyond the required TABC training,” as

Buffalo Wild Wings uses the “National Restaurant Association Educational Foundation

program known as ‘ServSafe Alcohol.’” Id. Sobczak states that “I required each of the

employees that would be responsible for serving alcohol at this location, including

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servers, shift leaders, and bartenders, to review responsible alcohol service policies.” Id.

at 3. Further, he states that “I have personal knowledge that all employees who worked

the date of the incident, that were in a position to serve alcohol to customers, were TABC

Certified and would have successfully completed the ‘ServSafe Alcohol’ training

program.” Id.

       This undisputed summary judgment evidence establishes the first two elements of

the statutory safe harbor. The burden thus shifts to Plaintiffs to establish that Defendant

“encouraged” the employees that allegedly over-served Valdez to over-serve customers.

Whatever the precise meaning of “encourage” as intended by the Texas Legislature and

as interpreted in the case law, Plaintiffs do not allege any conduct on Defendant’s part

that raises a triable fact issue as to whether Defendant encouraged its employees to

violate the law and over-serve. Thus, the Court finds that the safe harbor applies and

warrants dismissal of Plaintiffs’ Dram Shop Act claim.

   3. Negligent security

       Finally, Plaintiffs allege that the “security [Defendant] provided to prevent these

foreseeable events was insufficient for the event, inadequate for the purpose intended, and

negligently and recklessly executed.” Docket no. 6 at 5.

       Under Texas law, property owners generally have no legal duty to protect people from

third-party criminal acts, but a property owner who “controls the premises does have a duty to

use ordinary care to protect invitees from criminal acts of third parties if he knows or has reason

to know of an unreasonable and foreseeable risk of harm to the invitee.” UDR Texas Properties,

L.P. v. Petrie, 517 S.W.3d 98, 100 (Tex. 2017) (quoting Lefmark Mgmt. Co. v. Old, 946 S.W.2d

52, 53 (Tex. 1997)).



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       On this record, it is difficult to determine how Plaintiffs’ allegation that Defendant did

not provide enough security applies to the facts as presented. Although not included under the

“Negligent Security” heading in the complaint, Plaintiffs allege under the “Negligence” heading

that Defendant owed Plaintiffs a duty because it controlled the Buffalo Wild Wings premises.

Docket no. 6 at 5. They also allege that the “probability of alcohol fueled risks and other harmful

events” were foreseeable. Id.

       Defendant argues that it does not know what “event” Plaintiffs refer to and that

“[s]ecurity would not be required to oversee Mr. Valdez simply imbibing, while committing no

criminal acts on the premises.” Docket no. 24 at 12. Further, Defendant argues that inherent to a

negligent security claim are “criminal activity on the property”—which must be foreseeable—

and “injury to an invitee of the establishment.” Id. Since there was no criminal activity on

Buffalo Wild Wings property, foreseeable or otherwise, and no injury to an invitee, Defendant

argues that Plaintiffs’ claim fails as a matter of law.

       The Court agrees. Although it is difficult to interpret Plaintiffs’ allegations, particularly

without the benefit of a response to Defendant’s summary judgment motion, it appears that

Plaintiffs allege Defendant breached a duty by failing to properly provide security to protect

against criminal activity. If so, and this negligent security claim is meant to impose premises

liability, the Court need not analyze whether the risk of a criminal act was reasonable or

foreseeable because Plaintiffs were not invitees injured on Defendant’s property. If this claim is

meant to target Defendant’s conduct in allegedly over-serving Valdez, however, it fails for the

same reason Plaintiffs’ negligence claim fails—the Dram Shop Act’s exclusivity provision.

Thus, there is no genuine issue of material fact as to Plaintiffs’ negligent security claim and

summary judgment is appropriate.



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                                      CONCLUSION

       Defendant’s Motion for Summary Judgment (docket no. 24) is GRANTED. The Clerk is

directed to enter judgment in favor of Defendant and against Plaintiffs, and it is ORDERED and

ADJUDGED that Plaintiffs shall take nothing by their claims and their claims are DISMISSED

WITH PREJUDICE. The Clerk is directed to CLOSE this case.

       It is so ORDERED.

       SIGNED this 14th day of January, 2019.



                                         _________________________________

                                         XAVIER RODRIGUEZ
                                         UNITED STATES DISTRICT JUDGE




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